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               APPEAL TO THE UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT

                    FROM THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTIRCT OF ILLINOIS




                                     NOTICE OF APPEAL

       Comes now Plaintiff, John Roe, by and through his attorneys, and hereby tender their

NOTICE OF APPEAL, in the above styled case, to wit, Plaintiff appeals:

   1. The order of January 12, 2022 (Doc. 37) dismissing this case,

   2. The Judgment of January 12, 2022 (Doc. 38),

   3. Order of September 21, 2021 (Doc. 31), and

   4. Any and all other orders and matters necessary for a full and complete appeal of all

       appropriate matters in this case.

WHEREFORE, Plaintiff John Roe humbly requests that this Honorable Court reverse and vacate

the orders and judgment dismissing this case, as well as the order denying Plaintiff permission to

conduct discovery, and to remand this case, with directions to allow the case to proceed on the
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merits, and to allow appropriate discovery, plus such other, further and different relief as is

appropriate.

Dated: February 1, 2022                               Respectfully Submitted,

                                                      s/Thomas G. Maag
                                                      Thomas G. Maag
                                                      Maag Law Firm, LLC
                                                      22 West Lorena Avenue
                                                      Wood River, IL 62095
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he filed the foregoing document, on this date, using

the CM/ECF system, which will send notification to all registered users.

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Dated: 2-1-2022                               s.Thomas G. Maag
